Case 2:05-CV-02428-SHI\/|-tmp Document 20 Filed 08/05/05 Page 1 of 2 Page|D 14

 

 

 

IN THE UNITED sTATEs DISTRICT coURT HLED BY m D,c'
FoR THE WESTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 05 AUG -»5 PH 1,38
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THE cHARTER oAK FIRE INSURANCE CO., CLEH‘(`Uk ZF§TQWYMHT
afs/o wEST\ TENNESSEE coNMUNICATIoNS, W_/‘D G
Plaintiff,
VS. NO. O5-2428-MaP

BROAN-NUTONE, LLC,

Defendant.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Before the court is the July 20, 2005, motion for admission
pro hac vice of Brian P. Henry. Mr. Henry is a member in good
standing of the bar of the state of Connecticut and is admitted
to practice before the highest courts of Connecticut. Mr. Henry
has obtained and is familiar With the local rules and
professional guidelines of this court. For good cause shown, the
motion is granted and Brian P. Henry is admitted to participate
in this action as counsel for plaintiff.

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lt is so ORDERED this day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
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ESSEE

 

Joseph L. Brcy

CASTLE & ASSOCIATES
3100 Walnut Grove

Ste. 6 1 0

1\/1emphis7 TN 38111

Brian P. Henry
TEDFORD & HENRY
750 Main St.

Ste. 5 10

Hartford, CT 06103

Joseph Bree Burns

RO1\/[E MCGUIGAN SABANOSH
One State St.

13th Flcor

Hartford, CT 06103--310

Honcrable Samuel Mays
US DISTRICT COURT

